     Case 3:24-cv-01039-CVR            Document 1        Filed 01/23/24        Page 1 of 36




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF PUERTO RICO

 BANCR~DITO HOLDING CORPORATION,
 on its own behalf and derivatively for the
 benefit of and on behalf of Nominal Defendant
 BANCR~DITO INTERNATIONAL BANK &
 TRUST CORPORATION,

                       Plaintiff,                   Case No.: ---------

                vs.                                 VERIFIED DIRECT AND DERIVATIVE
                                                    SHAREHOLDER COMPLAINT
 DRIVEN ADMINISTRATIVE SERVICES
 LLC,
                                                    JURY TRIAL DEMANDED
                       Defendant,

                and

 BANCR~DITO INTERNATIONAL BANK &
 TRUST CORPORATION,

                       Nominal Defendant.


       Bancr~dito Holding Corporation ("Plaintiff' or "BHC), sole shareholder of nominal

defendant Bancr~dito International Bank & Trust Corporation ("Bank" or "Bancr~dito"), brings

the following Verified Direct and Derivative Shareholder Complaint individually and derivatively

for the benefit, on behalf and in the right of the Bank against Defendant Driven Administrative

Services LLC ("Defendant" or "Driven"). Plaintiff, upon direct knowledge with respect to itself

and its actions and otherwise on information and belief, alleges as follows:

                                       INTRODUCTION

       Defendant was appointed as receiver to the Bank by its regulator, the Office of the

Commissioner of Financial Institutions of Puerto Rico ("OCIF).             The conditions of its

appointment, set out in the Complaint and Order of Interim and Permanent Appointment of
        Case 3:24-cv-01039-CVR            Document 1        Filed 01/23/24       Page 2 of 36




Receiver and Revocation of License (Querella y Orden de Nombramiento Provisional y

Permanente de Sindico y Revocaci~n de Licencia) ("Receivership Order"), attached as Exhibit

A, expressly provide that, Defendant occupies a position analogous to that of the Bank's

management and board of directors prior to the receivership and, concomitantly, owes fiduciary

duties to the Bank and its sole shareholder, Plaintiff.

         In direct contravention of those duties, Defendant: (i) refused to communicate with

Plaintiff, (ii) provided inaccurate infonnation to Plaintiff, (iii) refused to give Plaintiff access to

critical infonnation about the Bank's financial situation, (iv) excluded Plaintiff from its

negotiations with FinCEN, and (v) made admissions that are not only directly adverse to the Bank's

and Plaintiff's interests but are also factually incorrect and unsupported by the evidence that should

have been considered had Defendant simply accessed the information Plaintiff sought to provide.

As a direct consequence of Defendant's actions, the Bank and Plaintiff are faced with hann,

including but not limited to, a $15 million civil money penalty imposed by FinCEN.

         To ensure that Driven did not cause any further harm, Plaintiff filed a lawsuit in the Eastern

District ofNorth Carolina on October 12, 2023. While it was pending, Plaintiff learned that Driven

may be attempting to sell the Bank's rare, hand-selected and extremely valuable art collection (the

"Artwork"). The Plan of Liquidation and Dissolution of Bancr~dito International Bank & Trust

Corporation ("Liquidation Plan"), further described below, states that all of the Bank's assets

remaining after the liquidation are to be returned to Plaintiff.         In blatant disregard for its

safekeeping, Driven has stashed this Artwork in crates in a vacant and potentially unsecured office,

under conditions that seem inadequate for its proper preservation. Driven's failure to protect the

Artwork is a further example of how Driven operates negligently and in breach of its fiduciary

duty.


                                                   2
        Case 3:24-cv-01039-CVR           Document 1        Filed 01/23/24       Page 3 of 36




         Given these failures, on January 4, 2024, Plaintiff filed a Motion for Temporary Restraining

Order ("TRO") and Preliminary Injunction in the Eastern District of North Carolina to: (i) enjoin

Driven from selling, transferring, damaging, or otherwise disposing of the Artwork; and (ii)

mandate that Driven specify how it is appropriately caring for the Artwork while in its possession.

         On January 9, 2024, the action in the Eastern District of North Carolina was dismissed

without prejudice on personal jurisdiction grounds. The Court did not reach a decision on the

TRO. The Court stated: "Given the immediacy of the harm alleged by Plaintiff in the motion for

restraining order, the court's analysis of Defendant's motion to dismiss is limited to the issue of

personal jurisdiction, so that Plaintiff may, if it so chooses, timely seek relief in an alternative

forum. See Fed. R. Civ. P. 1." Bancr~dito Holding Corp. v. Driven Admin. Servs., et al., Case No.

5:23-cv-00575-M-BM, ECF No. 23 at 2 (E.D.N.C. Jan. 8, 2024). For the reasons set forth below,

Plaintiff seeks relief in this forum to ensure that Driven does not cause any further harm. Plaintiff

simultaneously files a Motion for TRO and Preliminary Injunction to prevent Driven from taking

actions related to the Artwork that would cause Plaintiff irreparable harm.

                                             PARTIES

         I.     Plaintiff BANCR~DITO HOLDING CORPORATION is a New York corporation

that owns all the capital stock of the Bank. Plaintiff's principal place of business is Florida.

         2.     Defendant DRIVEN ADMINISTRATIVE SERVICES LLC is a limited liability

company formed under the laws of Puerto Rico that is a financial advisory firm. Defendant's sole

member is another Puerto Rico limited liability company-Driven P.S.C.-that, in turn, has five

members, all of whom are residents of Puerto Rico. Driven's principal place of business is Puerto

Rico.




                                                  3
      Case 3:24-cv-01039-CVR                Document 1     Filed 01/23/24       Page 4 of 36




       3.      Nominal Defendant BANCR~DITO INTERNATIONAL BANK & TRUST

CORPORATION is a Puerto Rico corporation that at relevant points in time prior to getting into

receivership held an international banking entity ("IBE") license to provide financial services to

persons who are not residents of Puerto Rico, including personal, private, institutional, and

corporate banks in the United States and abroad.

       4.      Plaintiff was the Bank's sole shareholder at all times relevant to the allegations

herein and remains the Bank's sole shareholder.

                                 JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(I ). The

parties are citizens of different states, and the matter in controversy exceeds $75,000.

       6.      This Court has personal jurisdiction over Defendant because it is a Puerto Rico

limited liability company, whose sole member is another Puerto Rico limited liability company

that, in tum, has five members, all of whom are residents of Puerto Rico.

       7.      Venue is proper in this Court pursuant to 28 U .S.C. § 1391 (b )( 1) because Defendant

and the Bank reside in Puerto Rico.

       8.      There is no need for Plaintiff to first bring this action before OCIF and exhaust its

administrative remedies.

                                   FACTUAL ALLEGATIONS

       A.      The Bank's Inception, Development of AML Compliance Efforts, and
               Regulator Relationship

       9.      The Bank was incorporated in 2008 pursuant to the Puerto Rico General

Corporations Act. Plaintiff, a New York corporation, has been the Bank's sole shareholder at all

times relevant to the allegations herein.




                                                   4
     Case 3:24-cv-01039-CVR            Document 1       Filed 01/23/24      Page 5 of 36




       10.     As part of its normal operations, the Bank established compliance programs,

including anti-money laundering ("AML") policies, procedures, and internal controls. Standard

AML procedures-which the Bank implemented-involve establishing protocols for review of

certain transactions for suspicious activity and filing reports of suspicious activity known as

suspicious activity reports ("SARs") with the U.S. Department of the Treasury pursuant to 31

C.FR. $ 1020.320.

       11.     The Bank was granted a license as an IBE under the Puerto Rico International

Banking Center Regulatory Act [Act No. 52 of August 11, 1985, as amended] (the "IBE Act).

As such, OCIF regulates, supervises, and examines the Bank and other similarly situated financial

institutions that are organized under the laws of the Commonwealth of Puerto Rico.

       12.     For example, during regular intervals while the Bank was authorized to conduct a

depository institution business pursuant to its license as an IBE, OCIF examined the Bank's credit

and other financial services functions and its compliance with the applicable provisions of the

Bank Secrecy Act ("BSA"), which is the principal AML law of the United States. During such

examinations, the Bank promptly provided relevant information in response to OCIF's requests.

       13.     Additionally, the Bank and OCIF entered into a Memorandum of Understanding on

December 21, 2021 (the "2021 MOU"), in which the Bank agreed to certain AML program

improvements, including organizing a Special BSA Directors Committee ("Special Committee")

to oversee the Bank's compliance programs; to conduct an independent look-back review for a

five-year period of substantially all of its customers' transactions for AML compliance purposes

(the "Look-Back"); and to pay an administrative money penalty for a total amount of $97,000-

in stark contrast to the $15 million penalty imposed by FinCEN in response to what is essentially

the same conduct.



                                                5
        Case 3:24-cv-01039-CVR           Document 1        Filed 01/23/24      Page 6 of 36




          14.     The Look-Back entailed a thorough review of the Bank's past records and

procedures within the parameters discussed in paragraph 21 below. The Bank retained a highly

credentialed third-party consultant ("Consultant") to conduct the Look-Back. The Consultant

found that the Bank's customer risk rating methodology properly identified higher-risk customers.

Moreover, the data showed that Bancr~dito filed multiple SARs for those customers identified as

high-risk.

          B.      The Bank's Substantial BSA/AML Compliance

          15.     The Bank engaged an independent and highly credentialed independent audit firm

("Firm One") to conduct a thorough review of its BSA/AML and sanctions compliance programs

and to provide a report and recommendations. Firm One conducted a review for the years 2019

and 2020, then issued detailed audit reports regarding the BSA/AML compliance program of the

Bank.

          16.     The 2020 report of Firm One gave the Bank's BSA/AML compliance program its

second-highest rating: "fair," meaning that "no significant errors or material violations of law or

BSA/AML" were observed.

          17.     Noting improvement, a year later, in its 2021 report, the same independent audit

firm upgraded the Bank's rating to "satisfactory," the highest rating available.

          18.     Concurrent with its engagement of Firm One, the Bank engaged another

independent and highly credentialed independent audit firm ("Firm Two), to complete

BSA/AML compliance audit reviews for the calendar years 2020 and 2021, and to validate the

prior review conducted by Firm One in 2020 and confirm that the Bank had earned a "satisfactory"

rating.

          19.     Firm Two ultimately gave the Bank the highest available rating of "satisfactory"

for both years.
                                                  6
     Case 3:24-cv-01039-CVR           Document 1         Filed 01/23/24      Page 7 of 36




       20.     In 2022, the Bank additionally engaged the Consultant-approved by OCIF-to

conduct the Look-Back.

       21.    The Consultant's Look-Back parameters called for the review of "(a) all customer

(individual and entities) accounts and transactions in excess of $2,500; and (b) all accounts and

transactions from foreign correspondent accounts in excess of $2,500 from January 1, 2016 to

December 31, 2020.

       22.     On April 8, 2022, the Bank provided OCIF with a copy of the Consultant's

proposed Look-Back plan, which set out the scope, parameters, number of accounts, and

transactions expected to be reviewed. On May 10, 2022, OCIF approved the Look-Back plan.

       23.     As is detailed further below, while the Bank was in sound financial condition, in

August 2022, Plaintiff, the Bank, and OCIF "entered into a voluntary" Liquidation Plan as part of

a settlement related to the Bank's compliance with the MOU. The Liquidation Plan "terminate[d],

substitute[d], and supersede[d] the MOU, except for the provisions of the [Look-Back]." The

Look-Back was completed on or around November 2, 2022.

       24.     The Consultant's review concluded that the Bank's BSA/AML customer risk rating

methodology properly identified higher-risk customers.

       25.     The review identified certain transactions that raised indicia of suspicion but did

not include a recommendation that the Bank file SARs on said transactions.

       C.      The Bank's Liquidation Plan and Efforts to Effectuate It

       26.     Upon information and belief, the financial condition of the Bank at all times prior

to the appointment of Driven as receiver was sound, its asset quality was good, and its capital

position was strong.

       27.     In or around April 2022, certain members of the Bank's board of directors ("Board

of Directors"), who were serving on the Special Committee mandated by the 2021 MOU,
                                                7
      Case 3:24-cv-01039-CVR                Document 1     Filed 01/23/24      Page 8 of 36




unexpectedly resigned, hindering the Bank's ability to comply with that obligation of the 2021

MOU.

       28.     Upon information and belief, the Bank promptly contacted OCIF, seeking its

guidance and requesting a meeting to discuss how to fill the Special Committee's vacancies in the

2021 MOU by OCIF's imposed deadline. Although a meeting was scheduled to discuss the Special

Committee's vacancies on or around May 12, 2022, OCIF cancelled this meeting on May 12

without providing an explanation.

       29.     On or around May 16, 2022, OCIF filed legal proceedings against the Bank,

alleging breach of obligations set forth in the 2021 MOU solely related to the establishment of the

Special Committee.

       30.     To settle that matter, in August 2022, Plaintiff, the Bank, and OCIF entered into the

voluntary Liquidation Plan for the Bank. The negotiation of the Liquidation Plan was made

possible by Plaintiff, whose counsel engaged with OCIF in discussions related to the voluntary

liquidation of the Bank. Through the course of those negotiations, OCIF provided drafts of the

Liquidation Plan for review and comment.

       31.     The Liquidation Plan appointed Driven as administrator for the Bank during the

liquidation process. As administrator, Driven was charged with paying and discharging "all

liabilities and obligations" of the Bank.

       32.     After Driven was appointed as administrator, the Bank's Board of Directors and

Officers continued in their roles. As service provider to the Bank, Driven answered to the Bank

and its management.

       33.     On September 20, 2022, OCIF sent a letter to Plaintiff's counsel asking that the

Bank and Plaintiff assist in expediting the liquidation process.



                                                  8
      Case 3:24-cv-01039-CVR             Document 1         Filed 01/23/24     Page 9 of 36




        34.    In compliance with the request, Plaintiff and the Bank endeavored to provide

material assistance in expediting and completing the Liquidation Plan.

        35.     Specifically, OCIF requested assistance executing the part of the Liquidation Plan

that required Driven to pay certain depositors the money they held in their Bancr~dito accounts

within the first thirty (30) days of the Liquidation Plan's effect.

        36.    Accordingly, Plaintiff contacted Berkeley Bank & Trust Limited ("Berkeley") in

the United Kingdom. Berkeley had an account with the Bank that contained a large sum of money

and was entitled to the deposits in the Bank's account within the first thirty (30) days of the

Liquidation Plan's execution.

        37.     A significant portion of the money in Berkeley's Bancr~dito account resulted from

the maturity of certain U.S. Treasury Bills belonging to Bancr~dito.

        38.     Plaintiff therefore requested that Berkeley transfer funds to the Bank's account at a

different bank in Puerto Rico. Berkeley followed Plaintiff's instructions and executed the required

transfer authorization, while also requesting that the Bank return to it the remaining balance in the

account (about $1.3 million) as required under the Liquidation Plan.            The Bank, through

Defendant, agreed to repay Berkeley.

        39.     Despite Berkeley's performance under the agreement, and in direct violation of the

Liquidation Plan, Driven failed to repay Berkeley.

        40.     Upon information and belief, Driven failed to inform Plaintiff of this default.

Plaintiff only learned of the default after OCIF placed a hold on the Bank's transfers that would

last until all of the Bank's funds were transferred to two separate banks-a condition that was not

part of the Liquidation Plan.




                                                   9
     Case 3:24-cv-01039-CVR             Document 1        Filed 01/23/24       Page 10 of 36




       41.      Driven 's actions not only caused the Bank to breach its obligations to Berkeley

under the Liquidation Plan-which breach led to Berkeley filing suit against the Bank-but they

also stalled the liquidation process because Driven was no longer able to pay the depositors, as

explained in Paragraphs 35 and 36.

       42.      Driven 's breach of the Liquidation Plan further exposed the Bank to civil liability

because (i) Berkeley subsequently filed suit in the U.S. District Court of Puerto Rico, seeking

declaratory relief and payment of $1.3 million; and (ii) Driven 's failure to timely transfer the $26

million that Berkeley held for Bancr~dito set Bancr~dito behind in its ability to repay other

depositors.

       D.       OCIF's Appointment of Driven as Receiver

       43.      On or about January 11, 2023, OCIF issued the Receivership Order (i) revoking the

Bank's IBE license and (ii) placing the Bank into receivership, designating Driven as its receiver

("Receiver").

       44.      As Receiver, Driven assumedwith full knowledgecontrol of the Bank's assets

and liabilities and assumed the role of the Bank's Board of Directors and Officers.

       45.      In some circumstances, the appointment of a receiver is appropriate because a

company has limited resources and cannot adequately maximize its own financial resources.

       46.      However, in this case, the Bank had about $30 million at its disposal in foreign

accounts under the Bank's name, which was three times the amount necessary to liquidate the

Bank's debts. Despite this, OCIF issued its Receivership Order, which alleged that BHC was

impeding the Board of Directors of BHC from moving forward with the Liquidation Plan.

Pursuant to the terms of the Receivership Order, Driven's primary directive was to "complete ...

the Liquidation Plan." Complaint and Order of Interim and Permanent Appointment of Receiver

and Revocation of License (Querella y Orden de Nombramiento Provisional y Permanente de
                                                 10
     Case 3:24-cv-01039-CVR              Document 1       Filed 01/23/24     Page 11 of 36




Sindico y Revocaci~n de Licencia) at 6, Off. Comm 'r Fin. Insts. v. Bancr~dito Int'l Bank & Trust,

Corp., C-23-D-001 (OCIF Jan. 11, 2023) [attached hereto as Exhibit A, which is a certified

translation of the original filing in Spanish].

        4 7.    Driven was provided "flexibility in its mandate, to be able to handle situations not

expressly detailed in the Liquidation Plan." Id.

        48.     For example, Driven was given the "power to ... vindicate [the Bank's] rights over

its property and assets" and "appoint agents to carry out these mandates and take any other action

that [the Bank] would have been able to do and that is necessary and appropriate." Id.

        49.     Critically, the Receivership Order expressly stated that:

                [Defendant] will be in a position similar to the one that the
                management and directors of [the Bank] held prior to the
                receivership. Therefore, the management and directors of [the
                Bank] are ordered to place the Receiver in control of the [B]ank so
                that the Receiver, advised by any professionals that it deems
                necessary, may complete the remaining processes to finalize the
                liquidation of [the Bank].

Id. at 6-7.

        50.     More specifically, the Receivership Order made clear that "[a]s part of said

mandate, the Receiver will have a fiduciary duty both to [the Bank's] creditors as well as to [the

Bank's] Shareholder"-that is, Plaintiff. Id. at 7.

        E.      Driven 's Early Disregard for Its Duties of Disclosure and Due Care

        51.     Even though most of the liquidation had been completed prior to the appointment

of the Receiver, the Receiver was tasked with finalizing the liquidation.

        52.     As part of its work, the Receiver had the discretion to select an escrow agent and

open an escrow account to hold and secure the Bank's funds.




                                                   11
     Case 3:24-cv-01039-CVR            Document 1        Filed 01/23/24      Page 12 of 36




       53.     That discretion was subject to specifically negotiated tenns and conditions,

pursuant to a Settlement Agreement entered into in March 2023 among Plaintiff, the Bank, and

OCIF (the "Settlement Agreement") to resolve certain disputed aspects of the Receivership Order.

       54.     The Settlement Agreement stated that the Receiver must retain an escrow agent that

qualifies as "a reputable agency or financial institution or [sic] such as the Royal Bank of Canada

or similar." This condition was critical to Plaintiff because it wanted to ensure the Bank's cash

was at a world-renowned depository institution.

       55.     Instead of complying with this specific condition to retain as escrow agent a

depository institution similar to Royal Bank of Canada ("RBC"), Driven retained a trust company

called Apex Corporate Trustees (UK) Limited ("Apex") to serve as the escrow agent.

       56.     By way of illustration, RBC has over 97,000 employees who serve 17 million

clients in 29 countries. RBC's revenue ranges in the billions, making it the eleventh-largest

depository institution in the world. In contrast to RBC, as of December 31, 2022, Apex had 52

employees and less than $3 million in revenue. Thus, under any fair reading of the explicit

condition regarding the placement of the Bank's funds, Apex could not be considered "similar" to

RBC.

       57.     By engaging Apex as escrow agent, Driven not only breached its fiduciary duty of

care and good faith to the Bank and its Shareholder; it also breached the Settlement Agreement.

       58.     Moreover, the Receiver did not provide sufficient detail about the appointment of

Apex in its March 29, 2023 communication, which notified Plaintiff that the Bank's funds would

be transferred to an escrow account maintained at Lloyds Bank pie in London, England. In said

notice, the Receiver failed to disclose who was the escrow agent and whose name the account was




                                                  12
     Case 3:24-cv-01039-CVR             Document 1        Filed 01/23/24        Page 13 of 36




under, thereby misleading Plaintiff to believe that Lloyds Bank-a better-regarded financial

institution than Apex-was the escrow agent.

        59.     When Plaintiff learned that Apex was the escrow agent, Plaintiff raised concerns

about its rating.

        60.     On April 24, 2023, Plaintiff's attorneys sent Driven's attorney an email noting the

fiduciary duties that Driven owed to the Bank under the Receivership Order and requesting that

Driven provide basic financial information. The email indicated that "the Receiver must comply

with such fiduciary duties owed to the sole shareholder, that at the very least require transparency

with the sole shareholder." The email also cited Puerto Rico's General Corporations Act, which

provides Plaintiff, as the Bank's sole shareholder, the right to inspect the Bank's books and records.

        61.     Driven's attorney never responded.

        62.     On May I, 2023, Plaintiff again contacted Driven 's attorney, making a formal

request under Article 7 .10 of the Puerto Rico General Corporations Act of 2009, as amended, for

the Bank's audited financial statements for the preceding year.

        63.     Driven's attorneys responded on May 9, 2023, stating that Driven requested an

extension from OCIF until May 31, 2023 to prepare the Bank's audited financial statements and

that a copy of said statements would be provided to Plaintiff once finalized.

        64.     In fact, the information requested was never provided despite Plaintiff's repeated

follow-up requests to inspect the Bank's books and records.

        F.      Driven's Refusal to Respond to Formal Record Requests

        65.     The Receivership Order expressly provides, as noted, that the Receiver shall be in

a position analogous to that of the management and the Board of Directors prior to the receivership.

        66.     The Receivership Order also provides that the Receiver "shall have a fiduciary duty

to ... the Shareholder of [the Bank]," which was-at all times relevant hereto-Plaintiff.
                                                  13
     Case 3:24-cv-01039-CVR             Document 1        Filed 01/23/24       Page 14 of 36




       67.     As the sole shareholder, Plaintiff has a right to the Bank's books and records.

Because Driven was appointed to assume the role of the Bank's Board of Directors, Driven is

required to fulfill requests for books and records.

       68.     Despite those responsibilities and obligations, Driven has refused to comply with

Plaintiff's repeated requests to inspect the Bank's books and records.

       69.     Plaintiff asked Defendant on several occasions for access to the Bank's books and

records.

       70.     As one example, on May 1, 2023, Plaintiff requested from Driven different

documents, including audited financial statements and monthly budgets.

       71.     These documents would have helped Plaintiff () determine the current value of the

Bank; (ii) determine the costs and expenses of the liquidation and receivership; (iii) clarify

discrepancies in information previously provided by the Bank; and (iv) evaluate any potential

mismanagement or waste.

       72.     On May 9, 2023, Driven formally declined Plaintiff's request on the basis that

Plaintiff did not have a right to the information, but Driven did not address the fact that it owed a

fiduciary duty to Plaintiff under the terms of the Receivership Order.

       73.     Defendant declined all similar attempts by Plaintiff to obtain the Bank's books and

records.

       74.     To this day, Driven has failed to provide the requested documentation.

       75.     After the commencement of the litigation in the Eastern District of North Carolina,

on December 4, 2023, Plaintiff's counsel sent a letter ("December 4 Letter") via electronic mail to

Driven's counsel requesting confirmation within seven (7) business days of receipt that Driven

was preserving all Bank-related documentation originating from Driven or from the Bank itself.


                                                  14
     Case 3:24-cv-01039-CVR              Document 1       Filed 01/23/24        Page 15 of 36




        76.     Driven's counsel who appeared in the Eastern District of North Carolina litigation

did not respond within seven (7) business days of receipt and, to date, still has not directly

responded to the December 4 Letter request related to the document preservation.

        77.     By failing to provide that information to the Plaintiff as its sole shareholder, Driven

has failed to meet its duty of loyalty to Plaintiff.

        78.     Driven is additionally hiding critical information that may allow Plaintiff to fully

determine whether the Receiver has incurred corporate waste.

        G.      FinCEN's Involvement and Driven's Refusal to Involve Plaintiff

        79.     On or around mid-November 2019, FinCEN commenced an investigation of the

AML compliance program of the Bank. Upon information and belief, the documents and evidence

that FinCEN relied on to support its investigation were largely based on and/or obtained from

OCIF's examinations.

        80.     Upon information and belief, the Bank retained McConnell Vald~s LLC ("McV")

in to negotiate with FinCEN.

        81.     After Driven was appointed Receiver, Driven-through its counsel at McV-

engaged in negotiations with FinCEN on behalf of the Bank.

        82.     Upon information and belief, McV advised the Bank regarding the filing of SARs

and other compliance-related issues.

        83.     Upon information and belief, since at least early December 2022, FinCEN and

Driven (first as administrator and then as Receiver)-through its counsel at McV-engaged in

negotiations to address FinCEN's regulatory concerns.

        84.     Given Plaintiff's status as the sole shareholder of the Bank, and concomitant

knowledge regarding the issues and/or allegations in FinCEN's investigation, Plaintiff offered on

several occasions to assist the Receiver during the course of its settlement negotiations.
                                                   15
      Case 3:24-cv-01039-CVR             Document 1         Filed 01/23/24       Page 16 of 36




        85.      Around this time, the Bank's former counsel also had at least two calls with the

Receiver to share its work product from separate 2017 and 2018 independent reviews of the Bank's

BSA/AML program. On the calls, the Bank's counsel actively tried to help the Receiver marshal

evidence to explain the Bank's BSA/AML processes to FinCEN.                   The reviews contained

recommendations that the Bank take steps to decrease its risk appetite, which the Bank took

immediate steps to act upon. The subsequent Look-Back reported in relevant part that the Bank,

after taking these actions, engaged in materially less high-risk transaction activity, not more. In

contrast, FinCEN's reported findings, which Plaintiff admitted, claimed that the Bank's AML

program deteriorated over time, and the Bank subjected the United States to ever-increasing levels

of risk, not less.

        86.      The reviews, corroborated by the results of the Look-Back review, show that the

Bank's BSA/AML procedures got better over time, not worse, and, for the same reasons, the Bank

consequentially subjected the United States to less risk.

        87.      Instead, Driven consistently and willfully failed to (a) include the Bank and Plaintiff

in its discussions; (b) provide the Bank and Plaintiff with updates of its dealings with F inCEN; or

(c) even bother to obtain the critical information Plaintiff possessed and sought to provide

Defendant that would have helped resolve FinCEN's concerns or, at a minimum, ensured that

Defendant was operating from the correct set of facts in dealing with FinCEN on behalf of, and as

fiduciary for, Plaintiff.

        88.      Driven also intentionally ignored or otherwise rejected Plaintiff's repeated offers to

participate in the negotiations with FinCEN.




                                                   16
     Case 3:24-cv-01039-CVR             Document 1        Filed 01/23/24       Page 17 of 36




           89.   Had Plaintiff been permitted to participate-or at least been able to provide Driven

and FinCEN with the necessary and crucial information Driven lacked-it would have ensured the

best possible outcome for the Bank to resolve FinCEN's AML compliance investigation.

           90.   In fact, Driven never provided Plaintiff with any written drafts of the Consent Order

(as defined below), leaving Plaintiff (i) without information as to the form and substance of what

would become of the Consent Order, and (ii) unaware of the incomplete and-in many areas

false-set of facts to which Driven would ultimately "admit" in the Consent Order.

           91.   Had Driven engaged with Plaintiff in connection with the Consent Order

negotiations, Plaintiff would have provided information that contradicted numerous assertions in

the Consent Order-and Driven would not have ultimately agreed to the Consent Order's

contentions.

           92.   As detailed below, failing to engage with Plaintiff in this regard and entering into

the Consent Order on an uninformed basis was a breach of Driven's fiduciary duties and harmed

both the Bank and Plaintiff.

           H.    The FinCEN Consent Order

           93.   On September 15, 2023, FinCEN issued its Consent Order Imposing Civil Money

Penalty (the "Consent Order") against the Bank, imposing a $15 million civil money penalty.

           94.   Driven consented to and approved the Consent Order without Plaintiff's consent.

           95.   Plaintiff was unaware that the Consent Order would be issued that day, and Plaintiff

had no idea it would include such a large fine.

           96.   Driven caused the Bank to agree to pay a $15 million civil penalty and admit to an

erroneous, incorrect, misleading, and harmful set of facts implicating the Bank and certain other

parties.



                                                  17
     Case 3:24-cv-01039-CVR             Document 1        Filed 01/23/24       Page 18 of 36




       97.      Based on infonnation and belief, FinCEN's Consent Order mirrored the allegations

of OCIF's 2021 MOU, which was issued prior to Driven's involvement and imposed a civil money

penalty of $97,000.

       98.      Agreeing to this excessive fine and admitting to this inaccurate set of facts without

exercising even a modicum of due care-e.g., simply checking against the extensive infonnation

available to the Bank's sole shareholder to detennine whether those facts were accurate-was an

egregious breach of Defendant's fiduciary duties of care and loyalty. It bordered on intentional

neglect, and it severely and significantly damaged the Bank's reputation, exacerbated rather than

improved its financial condition, and hanned both the Bank and Plaintiff in a significant manner.

                1.      The Consent Order's Erroneous Information Regarding the BSA/AML
                        Program

       99.      FinCEN's Consent Order incorrectly contests the appropriateness of Bancr~dito's

AML program. It states that FinCEN "identified tens of thousands of transactions by high-risk

accountholders processed through Bancr~dito's foreign correspondent accounts, representing

hundreds of millions of dollars in transactions." Yet, when presenting "[t]he following examples"

as "illustrative of Bancr~dito's failure to establish an adequate correspondent account due diligence

program," the order lists only one foreign correspondent account: AIIBank Corporation

("AIIBank").

        I 00.   On this point, the Consent Order recounts facts that suggest AllBank pennitted

three clients with potentially suspicious ties to conduct transactions through its institution.

FinCEN thus adequately described due diligence weaknesses in AllBank's-not Bancr~dito s

compliance program. Indeed, the Consent Order fails to state any facts regarding Bancrdito's due

diligence on AIIBank.




                                                 18
     Case 3:24-cv-01039-CVR                    Document 1            Filed 01/23/24          Page 19 of 36




         101.     This allegation is also contrary to the findings of the BSA/AML compliance reports

issued by the independent audit finns referenced in Section B of this Complaint, which consistently

rated Bancr~dito's AML program as either "fair" or "satisfactory." It is also inconsistent with the

Look-Back, which reviewed nearly 135,000 transactions and found that the Bank did not fail to

file any necessary currency transaction reports.

         102.     In entering the Consent Order, the Receiver agreed to a narrative that Bancr~dito's

AML program deteriorated over time, which ignores the findings of the AML compliance reports

issued by the independent audit firms.

         103.     The FinCEN Consent Order also erroneously states that Bancr~dito failed to file

SARs on "over $100 million in suspicious transactions." This statement might be based on a

similar-but differentfinding from the Look-Back.

         I 04.    The Look-Back report found about $100 million in transactions-from customers

for which the Bank had already filed SARs-that merited additional "escalation to the BSA

Department." That is, the report found that Bancr~dito should have internally followed up on these

transactions. The report did not find that additional SAR filings were required for the transactions.

                  2.       The Consent Order's Erroneous Information Regarding SARs

         I 05.    In the Consent Order, Driven agreed with FinCEN that there were "hundreds of

millions of dollars in suspicious transactions on which ... Bancr~dito failed to file timely SARs."

To illustrate this point, the Consent Order provides the examples of three individuals it denotes as

Customers A, B, and C. 1




1
    Because the Receiver has consistently denied Plaintiff access to the Bank's records, Plaintiff responds only to the
allegations of Customer C, but anticipates it could respond to other allegations if allowed to inspect the records (as is
Plaintiff's right).

                                                           19
     Case 3:24-cv-01039-CVR            Document 1        Filed 01/23/24       Page 20 of 36




       106.    Regarding Customer C, "a private investment company, created for the purpose of

owning a luxury yacht, with an account at Bancr~dito," the Consent Order states that "Executive

A initiated a series of five transfers from [his private investment company ('PIC)] account to

various payees totaling over $1.3 million ... to make payments for the renovation of the yacht

under the control of Customer C."

       I 07.   It appears, from the Consent Order, that FinCEN concluded that the purchase and

sale of the yacht did not have a lawful business purpose. However, a basic review of the documents

available to the Bank would have caused the Bank to conclude that the transaction had a lawful

business purpose and, as such, was not suspicious.

       I 08.   It appears FinCEN did not have sufficient information-which could have and

should have been provided by Driven-to make a determination about the issues with Customer

C.
       I 09.   Instead, the facts associated with Customer Care as follows:

               (a)    In 2016, Jose Luis Arana Munoz de Cote, a professionally licensed yacht

broker-dealer, informed Executive A about M/Y PURE ONE, a 46-meter Leopard ("PO Yacht").

PO Yacht was subject to sequester, custody, and control of the Italian Bankruptcy Court in Pisa,

Italy. Said court was in the process of having interested buyers submit offers to participate in a

bid auction for the acquisition of PO Yacht.

               (b)    Executive A appointed Mr. de Cote as his nominee and fiduciary in the

auction process and instructed Mr. de Cote to submit a bid for PO Yacht on his behalf and to handle

all matters and aspects relating thereto. This arrangement was memorialized into a Memorandum

of Understanding on June 14, 2016(2016 MOU). Specifically, the 2016 MOU appointed Mr. de

Cote as Executive A's nominee, trustee, fiduciary, and attorney-in-fact for the acquisition and



                                                20
     Case 3:24-cv-01039-CVR             Document 1        Filed 01/23/24      Page 21 of 36




management of PO Yacht. The 2016 MOU also granted Mr. de Cote the right and power to utilize

Executive A's funds to purchase PO Yacht if the bid was approved.

               ( c)    The formal auction closing took place on August 21, 2016 and is evidenced

by a Buyer's Auction Closing Statement listing the following particulars:

               •      Buyer: Mr. de Cote, as trustee for Executive A
               •      Seller: Tribunale Ordinario de Pisa, Sezione Esecuzione Mobiliari
               •      Vessel: WY PURE ONE, Leopard 46m
               •      Date of Auction Closing: August 21, 2016
               •      Signatories: () Mr. de Cote, as Trustee; and (ii) Executive A, as Beneficiary.

               (d)     Subsequent to PO Yacht's acquisition, Mr. de Cote coordinated and

managed payment on behalf of Executive A for the inspections and extensive repairs the vessel

required.

               (e)     Executive A and Mr. de Cote also entered into a Broker's Commission

Agreement ("BCA"), which details that Mr. de Cote was to receive a commission for his efforts

in assisting Executive A with the auction and repair process. The BCA also ratifies the parties'

2016 MOU and vests title of PO Yacht in the name of Pure One Marine Corporation ("POMC").

               (f)     POMC was incorporated on October 20, 2016, with Executive A serving as

its original Director, President, and Secretary. Since its incorporation, POMC was wholly owned

by Interocean Marine Corporation ("Interocean"). From October 20, 2016 through May 12, 2017,

Mr. de Cote held ownership interest in Interocean for the benefit of Executive A, as evidenced by

the transaction documents resulting in the purchase and sale of the PO Yacht.          On or about

January 20, 2017, Mr. de Cote resigned from POMC, and on May 12, 2017, he ceased being the

nominee shareholder of Interocean.




                                                 21
     Case 3:24-cv-01039-CVR              Document 1        Filed 01/23/24       Page 22 of 36




         110.   These documents, physical copies of which Plaintiff provided to the Receiver

before the Receiver entered into the Consent Order, prove that Executive A was the beneficiary of

the transactions resulting in the purchase and sale of PO Yacht.

         111.   Notably, the governing FinCEN SAR rule requires that a transaction be reported to

FinCEN if, among other things, a bank has reason to suspect that

         the transaction has no business or apparent lawful purpose or is not the sort of which
         the particular customer would normally be expected to engage, and the bank knows
         of no reasonable explanation for the transaction after examining the available facts,
         including the background and possible purpose of the transaction.

         31 C.F.R. $ I 020.320 (a)(2)(iii) (emphasis added).

         112.   Here, a basic review of the documents available to the Bank (or that the Bank could

have obtained by engaging Plaintiff) would have caused the Bank to conclude that the transaction

had a lawful business purpose (i.e., the purchase and sale of the PO Yacht for the benefit of

Executive A). For example, as noted above:

                (a)     The Buyer's Auction Closing Statement ("Closing Statement") explicitly

states that the Buyer was Mr. de Cote "as trustee for" Executive A. The Closing Statement is also

signed by both Executive A "as Beneficiary" and Mr. de Cote "as Trustee."

                (b)     The 2016 MOU memorializes, among other things, the appointment of Mr.

de Cote as Executive A's "nominee, trustee and fiduciary to participate in the live auction at the

bankruptcy court of Pisa, Italy and to carryout [Executive A's] instructions with regard to" the PO

Yacht.

                 (c)    The 2016 MOU also provides that Mr. de Cote will execute "all documents

reasonably necessary to transfer all shares in that certain corporation named 'Interocean Marine

Corporation' ... , which shall be transferred and fully vested in [Executive A's] name."




                                                  22
     Case 3:24-cv-01039-CVR            Document 1        Filed 01/23/24      Page 23 of 36




               (d)     Significantly, an insurance certificate, issued on October 19, 2016, covering

the PO Yacht named Executive A as an "Additional Assured(s)" and specifically listed Executive

A as the owner and loss payee.

        113.   The facts set forth above, although not exhaustive, illustrate that the transactions

evidenced by such documents did not warrant a SAR because there was nothing suspicious about

the purchase and sale of the PO Yacht.

        114.   By entering into the Consent Order, Driven admitted to erroneous facts such as

these-that it should have known were untrue-and breached its fiduciary duty.

       I.      Driven's Flagrant Disregard for Its Fiduciary Obligations

        115.   Moreover, Driven has continuously denied Plaintiff access to the Bank's books and

records in order to prevent Plaintiff from uncovering and learning the extent to which the Receiver

has grossly mismanaged the Bank's finances.

       116.    Because the Receiver has refused to permit Plaintiff to inspect the Bank's books

and records, Plaintiff does not yet know the full extent of the Receiver's mismanagement,

malfeasance, and waste.

       I 17.   However, based on the limited information presently available to Plaintiff, it is

likely that the Bank's finances have been grossly mismanaged by Driven.

       J.      Driven's Failure to Protect Plaintiff's Artwork

       118.    As Receiver, Driven currently manages the Bank's Artwork: a collection of

approximately I 00 original paintings, photographs, and sculptures by renowned artists that took

over a decade to curate.

        119.   Prior to the receivership, Plaintiff's representatives hand-picked each piece to

create a collection that told a meaningful narrative. The collection is intended to support Latin

American artists through acquisition of important historical and cultural pieces.

                                                23
     Case 3:24-cv-01039-CVR              Document 1       Filed 01/23/24       Page 24 of 36




        120.    Before the Bank's liquidation, the Artwork could be viewed by members of the

public who came into the Bank's main office. Plaintiff's representatives also frequently lent certain

pieces to museums and public exhibitions.

        121.    The Artwork was last appraised in 20 I 9 by Muriel Quancard. Upon information

and belief, Driven has not performed subsequent appraisals.

        122.    Based on the 2019 valuation, Plaintiff estimates that the Artwork is worth roughly

$22.5 million. This valuation does not take into consideration recent events that have undoubtedly

increased the Artwork's value, such as the passing of a famous artist whose work constitutes a

substantial portion of the collection.

        123.     The Artwork requires a meticulously controlled environment with precise

temperature and humidity levels. Fluctuations in temperature, for example, can cause certain

materials to expand or contract, altering the appearance of a piece. High humidity can also damage

the Artwork by causing mold and mildew to accumulate. Climate fluctuations can also trigger

chemical reactions between the materials used for the art, causing changes in a piece's color and

overall aesthetics, ultimately preventing the beholder from experiencing and enjoying each piece

as the artist intended.

        124.    All of these concerns apply to the Artwork. For instance, certain pieces contain

platinum leaf paint, which may tarnish or corrode when exposed to unstable conditions. Other

pieces contain metal and nylon, which expand and contract under certain temperatures.

        125.    Plaintiff has attempted to determine the current state of the Artwork and whether it

is properly being preserved.

        126.    Driven has not sufficiently responded to these requests.




                                                 24
     Case 3:24-cv-01039-CVR            Document 1         Filed 01/23/24      Page 25 of 36




        127.    Upon information and belief, the Artwork is currently stashed in crates in a vacant

office, under conditions that are not meticulously controlled with precise temperature and humidity

levels and therefore may be inadequate for its proper preservation.

        128.    Driven 's failure to properly preserve and the protect the Artwork is a breach of its

fiduciary duty to Plaintiff.

        Driven's failure to properly preserve and protect the Artwork constitutes professional

negligence.

        K.      Driven 's Improper Attempts to Sell the Artwork

        129.    Pursuant to the terms of the Liquidation Plan, the Artwork may be sold if-and only

if-funds are necessary to finalize the liquidation. Otherwise, the Bank's remaining assets should

be distributed to Plaintiff.

        130.    The January 2, 2024 flow-of-funds report ("Flow of Funds") provided by Driven

shows the Bank has two remaining creditors, which must be paid to finalize the liquidation: (i)

FinCEN, which clearly would not be a creditor without Driven's decision to enter into a settlement

agreement; and (ii) LW Casa de Valores.

        131.    In the Flow of Funds, Driven represented to Plaintiff that as of December 29, 2023,

the Bank's accounts at Facebank International Corporation and Apex-both of which Driven can

access-held sufficient funds to pay these outstanding debts. Therefore, the Liquidation Plan can

be effectuated without sale of the Artwork.

        132.    Further, under the terms of the Receivership Order, Driven is required to ensure the

avoidance of"any irreparable damage from being caused to the interests of [the Bank] .... " and

"direct its efforts and activities to (i) maximize the value to be obtainedfor the sale or disposal of

those assets; [and] (ii) minimize the amount of loss realized in the resolution of the matters under

its purview .... " Ex. A at I, 8 ( emphases added).
                                                 25
      Case 3:24-cv-01039-CVR              Document 1        Filed 01/23/24       Page 26 of 36




           133.   Despite Driven's restrictions on selling the Artwork and its duties to Plaintiff,

recently, as detailed more fully in the Motion for Temporary Restraining Order and Preliminary

Injunction, art collectors and dealers have contacted Plaintiff's representatives to inquire about

purchasing the Artwork.

           134.   The fact that Driven appears to be shopping around the Artwork shows that there is

an imminent risk of transfer before the underlying claim is resolved. See Pl. 's Memorandum in

Support of Temporary Restraining Order and Preliminary Injunction (ECF No._) at 6-7.

           135.   Plaintiff's counsel has tried to communicate with Driven's counsel on multiple

occasions to ensure that the Artwork is being properly maintained and that the pieces would not

be sold.

           136.   In response, Driven did not guarantee that the Artwork would not be sold, and in

fact offered to sell the Artwork back to Plaintiff.

           137.   Driven's counsel additionally indicated there was a separate firm-which did not

appear in the Eastern District of North Carolina litigation-that is handling certain issues,

presumably including those regarding the Artwork.

           138.   While the Artwork is in the Bank's possession under Driven 's purview as the

Bank's receiver, it does not belong to Driven. Driven 's current actions not only threaten Plaintiff's

property interest in the Artwork but are also unnecessary and should be prohibited.

           139.   Driven's attempts to sell the Artwork are further breaches of its fiduciary duty to

Plaintiff.

           140.   Driven 's attempts to sell the Artwork constitute professional negligence.




                                                   26
     Case 3:24-cv-01039-CVR               Document 1         Filed 01/23/24       Page 27 of 36




                   DERIVATIVE ALLEGATIONS AND DEMAND FUTILITY

        141.      Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.

        142.      Plaintiff was the Bank's sole shareholder at all relevant times related to the actions

alleged herein.

        143.      Plaintiff brings this action derivatively on behalf of and for the benefit of the Bank

to redress injuries suffered by the Bank as a direct and proximate result of the breaches of fiduciary

duty and other legal violations alleged herein.

        144.      As sole shareholder, Plaintiff will adequately and fairly represent the interests of

the Bank in enforcing and prosecuting its rights.

       This action is not a collusive one to confer jurisdiction that the court would otherwise lack.

        145.      The wrongful acts complained of herein subject, and will persist in subjecting, the

Bank to continuing harm because the adverse consequences of the injurious actions are still in

effect and ongoing.

        146.      Apart from the litigation previously filed, Plaintiff has not made, until now, a formal

demand on the Receiver-which is now in full control of the Bank (not the Board of Directors).

The Receiver's control includes the decision to file or not file any "claim, lawsuit, or procedure on

behalf of [the Bank]." Thus, it is futile to seek the Receiver to pursue the claims set forth herein

and such a pre-suit demand is therefore excused as a matter of law.

        14 7.     Demands are excused as a matter of law where-as here-there exists reasonable

doubt that the challenged transactions were the product of a valid exercise of business judgment

such that they are entitled to the protection of the business judgment rule. Defendant's actions

were not the product of "independent" business judgment because, as alleged above, Defendant

acted in bad faith and in breach of its fiduciary duties to the Bank and Plaintiff, its shareholder.



                                                    27
     Case 3:24-cv-01039-CVR              Document 1           Filed 01/23/24     Page 28 of 36




        148.    Thus, a demand on Defendant would be futile because it is Defendant itself that

faces substantial risk of liability for acting in bad faith by breaching its fiduciary duty to Plaintiff

and by negligently exposing the Bank to legal risk and other liabilities.

        149.    Accordingly, the demand requirement is excused as a matter of law.

                                            COUNT ONE

                              Breach of Fiduciary Duty (Derivative)

        150.    Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.

        151.    Driven owes Plaintiff the fiduciary duties of care, loyalty, and good faith, which

require Driven to act in the best interests of Plaintiff, put the interests of Plaintiff before its own,

discharge its actions in good faith, and exercise reasonable and prudent supervision over Plaintiff's

management, practices, controls, and financial affairs.

        152.    Driven breached its fiduciary duties to Plaintiff by willfully, recklessly, and

intentionally failing to perform its fiduciary duties.

        153.    Driven breached its fiduciary duty of care to Plaintiff by entering the Consent Order

with FinCEN in bad faith and without conducting adequate due diligence.

        154.    Driven was presented with information regarding the Bank's AML compliance, but

intentionally ignored those facts by entering the Consent Order, which not only omits these facts

but also makes false admissions antagonistic to Plaintiff's interests.

        155.    Driven had a fiduciary duty to correct these omissions and false admissions prior

to entering the Consent Order.

        156.    Driven further breached its fiduciary duty of care to Plaintiff by unnecessarily

expending funds in entering the Consent Order, which imposes an unjust civil money penalty upon

Plaintiff that is disproportionate to the conduct at issue.



                                                  28
     Case 3:24-cv-01039-CVR              Document 1         Filed 01/23/24       Page 29 of 36




        157.    Driven further breached, and continues to breach, its duty of care to Plaintiff by

failing to properly preserve the Artwork.

        158.    Driven further breached its duty of care to Plaintiff by attempting to sell the

Artwork.

        159.    Driven breached its fiduciary duties ofloyalty and good faith by placing its interests

above Plaintiff's in entering the Consent Order.         Instead of heeding Plaintiff's counsel and

correcting the Consent Order's omissions and false admissions, Driven entered the Consent Order

in bad faith and thus placed its interests above Plaintiff's.

        160.    As a direct and proximate result of Driven's breaches of its fiduciary duties of care,

loyalty, and good faith, as alleged herein, Plaintiff has sustained and continues to sustain significant

damages and a drastic diminution in value.

        161.    As a result of the misconduct alleged herein, Driven is liable to Plaintiff.

                                            COUNTTWO

                               Professional Negligence (Derivative)

        162.    Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.

        163.    As Receiver, Driven has a duty to use such skill, prudence, and diligence as other

members of the profession. By virtue of this, Driven is required to exercise reasonable control and

supervision over the Bank's agents, business, and operations; use sound business judgment in

administering Plaintiff's financial operations; and accurately report to Plaintiff its financial affairs.

        164.    Driven breached its duty to use such skill, prudence, and diligence as other

members of the profession by entering the Consent Order in bad faith and without conducting

adequate due diligence. Driven was presented with information about the Bank's AML/BSA

compliance and background about key transactions, but intentionally ignored those facts by

agreeing to enter the Consent Order, which omits these facts and makes false admissions
                                                   29
     Case 3:24-cv-01039-CVR               Document 1        Filed 01/23/24        Page 30 of 36




antagonistic to Plaintiff's interests. Competent members of the receivership profession would have

heeded Plaintiff's counsel and corrected these omissions and false admissions prior to entering the

Consent Order.

        165.     Driven further breached its duty to use such skill, prudence, and diligence as other

members of the profession by entering the Consent Order without obtaining Plaintiff's consent and

failing to share any drafts of the Consent Order with Plaintiff.

        166.     Driven further breached, and continues to breach, its duty to use such skill,

prudence, and diligence as other members of the profession by failing to properly preserve the

Artwork.

        167.     Driven further breached its duty to use such skill, prudence, and diligence as other

members of the profession by attempting to sell the Artwork.

        168.     As a direct and proximate result of Driven 's breach of its duty to use such skill,

prudence, and diligence as other members of the profession, as alleged herein, Plaintiff has

sustained and continues to sustain significant damages and a drastic diminution in value.

        169.     As a result of the misconduct alleged herein, Driven is liable to Plaintiff.

                                           COUNT THREE

                                 Breach of Fiduciary Duty (Direct)

        170.     Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.

        171.     Driven owes Plaintiff the fiduciary duties of care, loyalty, and good faith, which

require Driven to act in the best interests of Plaintiff, put the interests of Plaintiff before its own,

discharge its actions in good faith, and exercise reasonable and prudent supervision over Plaintiff's

management, practices, controls, and financial affairs.

        172.     Driven breached its fiduciary duties to Plaintiff by willfully, recklessly, and

intentionally failing to perform its fiduciary duties.

                                                   30
     Case 3:24-cv-01039-CVR             Document 1            Filed 01/23/24    Page 31 of 36




        173.   Driven breached its fiduciary duty of care to Plaintiff by entering the Consent Order

with FinCEN in bad faith and without conducting adequate due diligence.

        174.   Driven was presented with information regarding the Bank's AML compliance and

specific transactions, but intentionally ignored those facts by entering the Consent Order, which

not only omits these facts but also makes false admissions antagonistic to Plaintiff's interests.

        175.   Driven had a fiduciary duty to correct these omissions and false admissions prior

to entering the Consent Order.

        176.    Driven further breached its fiduciary duty of care to Plaintiff by unnecessarily

expending funds in entering the Consent Order, which imposes an unjust civil money penalty upon

Plaintiff that is disproportionate to the conduct at issue.

        177.    Driven further breached, and continues to breach, its duty of care to Plaintiff by

failing to properly preserve the Artwork.

        178.    Driven further breached its duty of care to Plaintiff by attempting to sell the

Artwork.

        179.    Driven breached its fiduciary duties ofloyalty and good faith by placing its interests

above Plaintiff's in entering the Consent Order.         Instead of heeding Plaintiff's counsel and

correcting the Consent Order's omissions and false admissions, Driven entered the Consent Order

in bad faith and thus placed its interests above Plaintiff's.

        180.    As a direct and proximate result of Driven's breaches of its fiduciary duties of care,

loyalty, and good faith, as alleged herein, Plaintiff has sustained and continues to sustain significant

damages and a drastic diminution in value.

        I81.    As a result of the misconduct alleged herein, Driven is liable to Plaintiff.




                                                  31
     Case 3:24-cv-01039-CVR               Document 1         Filed 01/23/24       Page 32 of 36




                                            COUNT FOUR

                                  Professional Negligence (Direct)

        182.     Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.

        183.    As Receiver, Driven has a duty to use such skill, prudence, and diligence as other

members of the profession. By virtue of this, Driven is required to exercise reasonable control and

supervision over the Bank's agents, business, and operations; use sound business judgment in

administering the Bank's financial operations; and accurately report to Plaintiff, as the Bank's sole

shareholder, its financial affairs.

        184.     Driven breached its duty to Plaintiff to use such skill, prudence, and diligence as

other members of the profession by entering the Consent Order in bad faith and without conducting

adequate due diligence. Driven was presented with information about the Bank's AML/BSA

compliance and background about key transactions, but intentionally ignored those facts by

agreeing to enter the Consent Order, which omits these facts and makes false admissions

antagonistic to Plaintiff's interests. Competent members of the receivership profession would have

heeded Plaintiff's counsel and corrected these omissions and false admissions prior to entering the

Consent Order.

        185.     Driven further breached its duty to use such skill, prudence, and diligence as other

members of the profession by entering the Consent Order without obtaining Plaintiff's consent and

failing to share any drafts of the Consent Order with Plaintiff.

        186.     Driven further breached, and continues to breach, its duty to use such skill,

prudence, and diligence as other members of the profession by failing to properly preserve the

Artwork.

        187.     Driven further breached its duty to use such skill, prudence, and diligence as other

members of the profession by attempting to sell the Artwork.
                                                   32
     Case 3:24-cv-01039-CVR            Document 1        Filed 01/23/24       Page 33 of 36




        188.   As a direct and proximate result of Driven's breach of its duty to use such skill,

prudence, and diligence as other members of the profession, as alleged herein, Plaintiff has

sustained and continues to sustain significant damages and a drastic diminution in value.

        189.   As a result of the misconduct alleged herein, Driven is liable to Plaintiff.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests this Court to enter an order and judgment

for Plaintiff and against Defendant granting the following relief:

               (a)     Enjoining Driven, and anyone acting on its behalf, from further violating its

fiduciary duty to the Bank;

               (b)     Requiring Driven to provide Plaintiff the books and records that have

previously been requested in connection with the issues alleged in this Complaint;

               ( c)    Allowing Plaintiff unfettered access to books and records of the Bank on a

going-forward basis;

               (d)     Awarding money damages for Driven's violation of fiduciary duty and

professional negligence in an amount to be determined at trial exceeding $75,000;

               (e)     Enjoining Driven from selling, transferring, damaging, or otherwise

disposing of the Artwork;

               (f)     Mandating that Driven specify how it is caring for the Artwork while in its

possession;

               (g)     Replacing Driven as receiver for the Bank with an independent and neutral

third party;

               (h)     Awarding Plaintiff its costs and expenses incurred in this litigation,

including attorneys' fees, expert fees, and costs; and



                                                 33
     Case 3:24-cv-01039-CVR          Document 1        Filed 01/23/24      Page 34 of 36




              (i)    Granting Plaintiff such other and further relief as the Court deems just and

proper.


Dated: January 23, 2024                    Respectfully submitted,



                                           Isl Alberto G. Estrella

                                           ESTRELLA, LLC

                                           Alberto G. Estrella
                                           USDC-PR Bar No. 209804
                                           PO Box 9023596
                                           San Juan, PR 00902-3596
                                           Tel: (787) 977-5050
                                           Fax: (787) 977-5090
                                           agestrella@estrellallc.com

                                            Stephanie M. Vilella
                                            USDC-PR Bar No. 308603
                                            PO Box 9023596
                                            San Juan, PR 00902-3596
                                            Tel: (787) 977-5050
                                            Fax: (787) 977-5090
                                            svilella@estrellallc.com

                                            WINSTON & STRAWN LLP

                                            Abbe Lowell
                                            (pro hac vice admission forthcoming)
                                            DC Bar No. 358651
                                            1901 L Street, NW
                                            Washington, DC 20036
                                            Tel: (202) 282-5000
                                            Fax: (202) 282-5100
                                            abbelowellpublicoutreach@winston.com

                                            Richard Weber
                                            (pro hac vice admission forthcoming)
                                            NY Bar No. 2465094
                                            200 Park Avenue
                                            New York, NY 10166-4193
                                            Tel: (212) 294-1718


                                              34
Case 3:24-cv-01039-CVR   Document 1    Filed 01/23/24     Page 35 of 36




                             Fax: (212) 294-4700
                             rweber@winston.com

                             Elizabeth Ireland
                             (pro hac vice admission forthcoming)
                             NC Bar No. 47059
                             300 South Tryon Street, 16" Floor
                             Charlotte, NC 28202
                             Tel: (704) 350-7700
                             Fax: (704) 350-7800
                             eireland@winston.com


                             Attorneys for PlaintiffBancr~dito Holding
                             Corporation




                               35
     Case 3:24-cv-01039-CVR               Document 1   Filed 01/23/24      Page 36 of 36




                      VERIFICATION PURSUANT TO 28 U.S.C. § 1746


        I, Luis Augusto Zapata, of legal age, married, resident of Miami, Florida, and President

Chief Executive Offer of Bancr~dito Holding Corporation, do hereby attest that I have read the

above information and examined the Verified Complaint, and that the above is true to the best of

my knowledge. I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed in Miami, Florida on January 23, 2024.




                                                36
